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AO 199A (Rev. 12/11- EDCA [Fresno]) Order Setting Conditions of Release                                     Page 1 of   3   Pages



                                     UNITED STATES DISTRICT COURT
                                                                      for the
                                                 Eastern District of California

UNITED STATES OF AMERICA,

                              v.
                                                                                    Case No.       1:20-mj-00129 EPG
SAMANTHA BOOTH


                                      ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
    any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
    the court may impose.

      The defendant must appear at:                        United States District Courthouse
                                                                                           Place




      on                           December 18, 2020 at 2:00 p.m. before Magistrate Judge Stanley A. Boone
                                                                          Date and Time


      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance and Compliance Bond, if ordered.



      Release to be delayed until 6:00 a.m. December 14, 2020 to Brianna
                                     James.
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 AO 199B {Rev. 09/08- EDCA [Fresno]) Additional Conditions of Release (General)                                                    Page   [iJof [lJPages
 BOOTH, Samantha
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                                              ADDITIONAL CONDITIONS OF RELEASE
Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety of other
persons and the community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

 0     (6)       The defendant is placed in the custody of:

                   Name of person or organization             Shawn Lisa Booth

         who agrees (a) to supervise the defendant in accordance with all conditions of release, (b) to use every effort to assure the appearance of the
         defendant at all scheduled court proceedings, and (c) to notify the court immediately in the event the defendant violates any conditions of
         release or disappears.

                   SIGNED:t'pot l �
                                     CUSTODIAN ...-,
 0     (7)       The defendant must:
       @         (a)   report on a regular basis to the following agency:
                       Pretrial Services and comply with their rules and regulations;
       @         (b)   report telephonically to the Pretrial Services Agency following your release from custody;
       0         (c)   travel restricted to the Eastern District of California, unless otherwise approved in advance by PSO;
       @         (d)   report any contact with law enforcement to your PSO within 24 hours;
       @         (e)   cooperate in the collection of a DNA sample;
       liI       (f)   attend aH your Fresno County Superior Court hearings and compty with conditions issued by Fresno County
                       Probation;
       @         (g)   maintain or actively seek employment, and provide proof thereof to the PSO, upon request;
       @         (h)   not possess, have in your residence, or have access to a firearm/ammunition, destructive device, or other
                       dangerous weapon; additionally, you must provide written proof of divestment of all firearms/ammunition,
                       currently under your control;
       0         (i)   submit to drug and/or alcohol testing as approved by the Pretrial Services Officer. You must pay all or part of the
                       costs of the testing services based upon your ability to pay, as determined by the Pretrial Services Officer;
       @         U)    refrain from any use of alcohol, or any use of a narcotic drug or other controlled substance without a prescription
                       by a licensed medical practitioner; and you must notify Pretrial Services immediately of any prescribed
                       medication(s). However, medical marijuana, prescribed and/or recommended, may not be used;
       @         (k)   not apply for or obtain a passport or any other traveling documents during the pendency of this case;
       0         (I)   execute a bond or an agreement to forfeit upon failing to appear or failure to abide by any of the conditions of
                       release, the following sum of money or designated property: A $6,000 secured bond, posted by Julie Ann Weaver;
       @         (m)   participate in the substance abuse treatment program at WestCare inpatient facility and comply with all the rules
                       and regulations of the program. You must remain at the inpatient facility until release by the pretrial services
                       officer. A responsible party, approved by Pretrial Services, must escort you to all required court hearings and
                       escort you back to the inpatient facility upon completion of the hearing;
       @         (n)   upon successful completion of residential drug treatment, you must reside at an address approved by Pretrial
                       Services and you must not change your residence or absent yourself from this residence for more than 24 hours
                       without the prior approval of the pretrial services officer;
       @         (o)   upon successful completion of residential drug treatment, you must participate in a program of medical or
                       psychiatric treatment, including treatment for drug or alcohol dependency, as approved by the pretrial services
                       officer. You must pay all or part of the costs of the counseling services based upon your ability to pay, as
                       determined by the pretrial services officer;
       0         (p)   appear before the Court for a Status/Review hearing 30 days prior to your completion at WestCare.
       0         (q)   not associate or have any contact with Derek Smith, co-defendants, gang members, or individuals who abuse
                       illegal substances, unless in the presence of counsel or otherwise approved by the pretrial services officer; and,

                 USMS SPECIAL INSTRUCTIONS:
                 (r)   have your release on bond delayed until Thursday, December 14, 2020 at 6:00 a.m. for immediate transportation
                       to WestCare for your 8:00 a.m. intake appointment.
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December 11, 2020


                              Sheila K. Oberto, US Magistrate Judge
